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 21                           UNITED STATES DISTRICT COURT
 22                         CENTRAL DISTRICT OF CALIFORNIA
 23    UNITED STATES OF AMERICA,             Case No. 5:12-cv-01966-TJH(DTBx)
                                             Consolidated with Case No.
 24              Plaintiff,                  ED CV 12-02191-TJH (DTBx)
 25         v.                               JOINT STIPULATION RE
                                             CONTINUANCE OF FINAL
 26    CITY OF SAN JACINTO, CALIFORNIA, PRETRIAL CONFERENCE DATE
 27                Defendant.
 28
Case 5:12-cv-01966-TJH-SP Document 19 Filed 05/09/13 Page 2 of 5 Page ID #:108




   1 RAJEEYAH BILAL-VARNEY, YVONNE
     CARTER, AURORA BELTRAN, and
   2 DEIRDRA HAMPTON,
   3             Plaintiffs,
   4       v.
   5 CITY OF SAN JACINTO, CALIFORNIA,
   6             Defendant.
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   1       JOINT STIPULATION RE CONTINUANCE OF FINAL PRETRIAL
   2                                  CONFERENCE DATE
   3         On February 22, 2013, the Court entered an Order setting the Final Pretrial
   4   Conference in the above-entitled case Rajeeyah Bilal-Varney, et al. v. City of San
   5   Jacinto for June 10, 2013 at 10:00 a.m. (Docket No. 17). On February 26, 2013, the
   6   Court entered an Order setting the Final Pretrial Conference in the above-entitled
   7   case United States of America v. City of San Jacinto for June 10, 2013 at 10:00
   8   a.m. (Docket No. 11). That same day, the Court entered an Order consolidating
   9   these cases for all purposes, except for trial. (Docket No. 18 (Private Plaintiffs’
 10    case); Docket No. 14 (U.S.A.’s case)).
 11          Counsel for the Parties, having discussed the scope of this action and having
 12    filed their Joint Report pursuant to Federal Rule of Civil Procedure 26 (f) (Docket
 13    No. 20), believe that this litigation involves a wide breadth of matters to be covered
 14    by discovery, motion practice, and pre-trial work, i.e., number of potential
 15    witnesses, the extended years covered by the complaint, and the volume of
 16    documents to be reviewed.
 17          Consequently, the Counsel for the Parties believe that efficiency would best
 18    be served if the Final Pretrial Conference date were to be extended from June 10,
 19    2013 to July 30, 2014.       Included within the Parties’ Joint Report, the Parties
 20    submitted a proposed schedule for discovery, settlement/mediation, dispositive
 21    motions, and trial. The Parties are operating under this proposed schedule:
 22    Complete initial written discovery by                         May 31, 2013
 23    Conduct informal settlement discussion on or before           June 14, 2013
 24    Conduct lay depositions                                       June – December 2013
 25    Conduct private mediation by                                  October 2013
 26    Exchange expert reports by                                    January 13, 2014
 27    Exchange rebuttal expert reports by                           March 14, 2014
 28    Conduct expert depositions                                    February – April 2014

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   1
       Discovery cut-off                                               April 30, 2014
   2
       Dispositive motion filing cut-off                               May 30, 2014
   3
       Dispositive motion hearing cut-off                              July 1, 2014
   4
       Pretrial conference                                             July 30, 2014
   5
       Trial                                                           September 2014
   6
       See Joint Report, p. 3. Granting an extension of the Final Pretrial Conference date
   7
       would ensure that the Parties complete all discovery, motion practice, and pretrial
   8
       work in advance of the Final Pretrial Conference.
   9
               Accordingly, the Parties stipulate, and respectfully request, that the Court
 10
       enter an Order continuing the Final Pretrial Conference date from June 10, 2013 to
 11
       July 30, 2014, or to a date thereafter better suited for the Court.
 12
               SO STIPULATED AND AGREED.
 13
               Pursuant to Local Rule 5-4.3.4, by my signature below I, Valerie D.
 14
       Escalante, attest that all other signatories concur in this filing’s content and have
 15
       authorized this filing.
 16
 17    Dated: May 9, 2013              BEST BEST & KRIEGER LLP
 18
 19                                    By: /s/ Valerie D. Escalante
                                         RICHARD T. EGGER
 20                                      JEFFREY S. BALLINGER
                                         LAURA L. CRANE
 21                                      VALERIE D. ESCALANTE
                                         Attorneys for Defendant San Jacinto, California
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   1                              UNITED STATES DEPARTMENT OF JUSTICE
       Dated: May 9, 2013
   2                              AND UNITED STATES ATTORNEY’S OFFICE

   3
   4                              By: /s/ Nancy F. Langworthy
                                     STEVEN H. ROSENBAUM
   5                                 R. TAMAR HAGLER
                                     NANCY F. LANGWORTHY
   6                                 ERIN MEEHAN RICHMOND
                                     United States Department of Justice
   7                                 ANDRE BIROTTE, JR.
                                     LEON W. WEIDMAN
   8                                 ROBYN-MARIE LYON MONTELEONE
                                     United States Attorney’s Office
   9                                 Attorneys for Plaintiff United States of
                                     America
 10
 11    Dated: May 9, 2013         BRANCART & BRANCART

 12
 13                               By: /s/ Elizabeth Brancart
                                     CHRISTOPHER BRANCART
 14                                  ELIZABETH BRANCART
                                     Attorneys for Plaintiffs Rajeeyah Bilal-Varney,
 15                                  et al.
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